
726 S.E.2d 839 (2012)
STATE of North Carolina
v.
Darrell Lamar SULLIVAN, Jr.
No. 531P11.
Supreme Court of North Carolina.
June 13, 2012.
Kimberly P. Hoppin, for Sullivan, Darrell Lamar (Jr.)
Heather H. Freeman, Assistant Attorney General, for State of N.C.
Ronald L. Moore, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 6th of December 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 13th of June 2012."
